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                         UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NANCY BLANCO,                                      )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                )     Civil Action No.: 1:22-cv-1207
                                                   )
BATH & BODY WORKS, LLC,                            )     (Circuit Court of Cook County,
                                                   )     Illinois, County Department,
       Defendant.                                  )     Chancery Division, Case No.
                                                   )     2022CH00605)
                                                   )
                                                         JURY TRIAL DEMANDED

                                   NOTICE OF REMOVAL

       Defendant Bath & Body Works, LLC (“BBW”), by counsel and pursuant to 28 U.S.C

§§ 1331, 1367, 1441 and 1446, hereby removes the above-entitled action from the Circuit Court

of Cook County, Illinois to the United States District Court for the Northern District of Illinois,

Eastern Division, on the basis of the following facts:

       1.      Plaintiff filed suit in the Circuit Court of Cook County, Illinois on January 25,

2022, alleging that BBW violated provisions of the Fair and Accurate Credit Transactions Act

(“FACTA”), 15 U.S.C. §168lg(c)(l), by printing the first six and last four digits of its customers’

credit card or debit card account numbers on its transaction receipts.

       2.      A true and correct copy of the complaint is attached hereto as Exhibit 1.

       3.      There has been some uncertainty concerning service; although Plaintiff’s counsel

provided information indicating service by the Cook County Sheriff on or about February 4, 2022,

BBW’s registered agent has no record of such service. BBW nevertheless agreed to waive service,

and the parties agreed that BBW may file its responsive pleading on March 29, 2022. BBW filed

an unopposed motion reflecting the same on March 2, 2022, and this motion is currently pending.
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       4.      Even if the complaint is found to have been served on February 4, 2022, this Notice

of Removal is timely. Under 28 U.S.C. § 1446(b), this Notice of Removal must be filed within

30 days of the service of the complaint and summons. Thirty days from February 4, 2022 is March

6, 2022, which is a Sunday. When the last day of a period falls on a weekend, the period is

extended to the next business day. Fed. R. Civ. P. 6(a)(1)(C). Rule 6 applies to “any statute,” like

§ 1446(b), “that does not specify a method of computing time.” Fed. R. Civ. P. 6(a). Thus, the

30-day period applicable to this removal notice is extended to Monday, March 7, 2022. Because

BBW is filing this Notice of Removal on March 7, 2022, it is timely.

       5.      Even if the complaint is found to have been served on February 4, 2022, the time

for BBW to respond has not yet expired pursuant to Illinois Supreme Court Rule 181, which

provides that BBW’s deadline to respond to the complaint is 30 days after service of the complaint

and summons. BBW thus has until at least March 7, 2022—30 days after service of the complaint

and summons on February 4, 2022—to file its responsive pleading, and this time has not yet

expired. Likewise, BBW’s currently pending unopposed motion for an extension of time to

answer or otherwise plead seeks a March 29, 2022 deadline to respond to the complaint, which

has also not yet expired.

       6.      Copies of Plaintiff’s motion for class certification, counsel for BBW’s notice of

appearance, BBW’s motion for extension of time to file responsive pleading, and BBW’s notice

thereof are attached as Exhibit 2, in compliance with 28 U.S.C. § 1446(a)1.




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         BBW has not received a summons and therefore has not attached the same to this Notice
of Removal. BBW will supplement this Notice of Removal if and when BBW learns of other
filings with the Circuit Court of Cook County, Illinois.

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           7.    Concurrent with this Notice of Removal, BBW is serving this Notice of Removal

on Plaintiff’s counsel of record and is filing a copy with the Clerk of the Circuit Court of Cook

County, Illinois.

           8.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 93(a)(1) and 1441(a),

because the United States District Court for the Northern District of Illinois, Eastern Division, is

the federal judicial district and division embracing the Circuit Court of Cook County, Illinois,

where this action was originally filed.

           9.    By filing a Notice of Removal in this matter, BBW does not waive its right to

assert any applicable defenses and/or objections to which it may be entitled, including any

defenses under Fed. R Civ. P. 12(b).

                            FEDERAL QUESTION JURISDICTION

           10.   This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331.

Section 1331 provides that “[t]he district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.” Id.

           11.   Plaintiff’s complaint asserts one cause of action under FACTA, 15 U.S.C.

§168lg(c)(l), which is under the laws of the United States and within the original jurisdiction of

this Court. See 28 U.S.C. §§ 1331, 1441(a). As such, BBW may remove this action to this Court

pursuant to 28 U.S.C. § 1441 without regard to the amount of controversy or residence of the

parties.

           WHEREFORE, Defendant respectfully removes this action from the Circuit Court of

Cook County, Illinois, to the United States District Court for the Northern District of Illinois,

Eastern Division.




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                                         Respectfully submitted,

                                         /s/ Julie Porter
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                                         Attorneys for Bath & Body Works, LLC.

                                         Dated: March 7, 2022




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                                  CERTIFICATE OF SERVICE

        I, Julie B. Porter, one of the attorneys for Defendant Bath & Body Works, LLC, hereby

certify that I caused a copy of the foregoing Notice of Removal, along with its Exhibits and the

Civil Cover Sheet, to be served by e-mail and first class U.S. Mail, postage prepaid, on counsel

for Plaintiff:

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on this 7th day of March, 2022.

                                                    /s/ Julie B. Porter
                                                    Attorney for Defendant




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